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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                                            ORDER

       The court is aware that the 90-day deadline in which to make an order of restitution under

the Mandatory Victim Protection Act, 18 U.S.C. § 3663A, expires today, August 23, 2023, at least

as to Defendants Rhodes and Meggs, who were sentenced on May 25, 2023. See 18 U.S.C.

§ 3664(d)(5). Because the parties have consented to an extension of the briefing schedule in this

case until August 29, 2023, see ECF No. 687, the court will make a restitution determination as

expeditiously as possible upon the completion of briefing. See Dolan v. United States, 560 U.S.

605, 608 (2010). The court intends to make an award of restitution if it is convinced, following

the completion of briefing, that there is a legal basis to make such an award. Id.




                                                            Amit P. Mehta
Date: August 23, 2023                                United States District Court Judge
